     Case 2:20-cv-07841-PA-JPR Document 42 Filed 04/19/21 Page 1 of 3 Page ID #:325




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     Counsel for Plaintiff and Proposed Class
 6

 7                      UNITED STATES DISTRICT COURT
                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
 8                           WESTERN DIVISION
 9
      JOSHUA MATTHEWS,                           Case No. 2:20-cv-07841-PA-JPR
10    individually and on behalf of all others
      similarly situated,                        CLASS ACTION
11
                 Plaintiff,
12
      vs.                                        NOTICE OF SETTLEMENT
13
      MID CITY CANNABIS CLUB, INC.
14    d/b/a LA BREA COLLECTIVE, a
      California corporation,
15
                 Defendant.
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                                     NOTICE OF SETTLEMENT
     Case 2:20-cv-07841-PA-JPR Document 42 Filed 04/19/21 Page 2 of 3 Page ID #:326




            Plaintiff, Joshua Matthews, by and through undersigned counsel, hereby gives
 1
     notice that the parties have reached a settlement with respect to Plaintiff’s individual
 2
     claims. Plaintiff and Defendant are in the process of finalizing their settlement
 3
     agreement. Plaintiff anticipates filing a notice of dismissal within ten (10) days.
 4

 5
     Dated: April 19, 2021
 6

 7
     Respectfully Submitted,
 8
 9
     Edelsberg Law, P.A.
10   /s/ Scott Edelsberg
11   Scott Edelsberg, Esq.
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16   Counsel for Plaintiff and the Class

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                                      NOTICE OF SETTLEMENT
     Case 2:20-cv-07841-PA-JPR Document 42 Filed 04/19/21 Page 3 of 3 Page ID #:327




                                 CERTIFICATE OF SERVICE
 1
           I hereby certify that on April 19, 2021, I electronically filed the foregoing
 2
     document with the Clerk of the Court using CM/ECF. I also certify that the foregoing
 3
     document is being served this day on all counsel identified below via transmission of
 4
     Notices of Electronic Filing generated by CM/ECF or in some other authorized
 5
     manner.
 6

 7
           Respectfully submitted,
 8
           Edelsberg Law, P.A.
 9         /s/ Scott Edelsberg
10         Scott Edelsberg, Esq.
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15         By:    /s/ Scott Edelsberg
                  Scott Edelsberg, Esq.
16                California Bar No. 330990
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18         Attorneys for Plaintiff and the Class

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                                    NOTICE OF SETTLEMENT
